15-10694-mew           Doc 135        Filed 06/19/18 Entered 06/19/18 06:28:49   Main Document
                                                   Pg 1 of 20


 Melanie L. Cyganowski, Esquire
 Otterbourg P.C.
 230 Park Avenue
 New York, NY 10169-0075
 Tel: 212-661-9100

 mcyganowski@otterbourg.com

 Scott Michael Hare, Esquire
 Proposed Special Counsel to Blue Dog at 399 Inc.
 437 Grant Street – Suite 1806
 Pittsburgh, PA 15219
 (412) 338-8632

 scott@scottlawpgh.com

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------x
 In re                                                         Chapter 11

 BLUE DOG AT 399 INC.,                                         Case No. 15-10694-mew

                                       Debtor.
 --------------------------------------------------------x
 BLUE DOG AT 399 INC.,

                                       Plaintiff,              Adv. Pro. No. 18-_______

                    -against-

 SEYFARTH SHAW, LLP and
 RALPH BERMAN,

                                       Defendants.
 --------------------------------------------------------x

                                          ADVERSARY COMPLAINT

          Plaintiff Blue Dog at 399 Inc. (“Blue Dog” or the “Debtor”), by its attorney, Scott

 Michael Hare, Esquire, as and for its complaint against Defendants Seyfarth Shaw, LLP

 (“Seyfarth”) and Ralph Berman (“Berman”), alleges the following:
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49              Main Document
                                            Pg 2 of 20


                                        INTRODUCTION

          1.    On March 24, 2015, the Debtor commenced in this Court a voluntary case under

 chapter 11 of the Bankruptcy Code.

          2.    The Debtor brings this action seeking damages for negligence and other claims

 against its former special litigation counsel, Seyfarth Shaw, LLP and the individual lawyer who

 represented it, Ralph Berman, in an adversary proceeding pending in this chapter 11 case, titled

 Blue Dog at 399 Inc. v. BP 399 Park Avenue LLC, Adv. Pro No. 15-01097-mew (the “Landlord Action”).

                           JURISDICTION, VENUE AND PARTIES

          3.    This adversary proceeding is brought pursuant to Rule 7001(1) of the Federal Rules

 of Bankruptcy Procedure.

          4.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

 1334.

          5.    Venue over this adversary proceeding resides in this Court pursuant to 28 U.S.C. §

 1409(a).

          6.    Subject-matter jurisdiction, personal jurisdiction over the Defendants and venue

 are further proper in this District pursuant to this Court’s Order dated July 5, 2017 [Docket No.

 109 in the Debtor’s lead case, No. 15-10694-mew, and Docket No. 76 in the Landlord Action,

 Adv. Pro No. 15-01097-mew], in which this Court expressly retained jurisdiction “over any and

 all disputes arising out of or relating to this Order or to Seyfarth’s retention by the Debtor.”

          7.    The Debtor consents to the entry of final orders or judgment by the bankruptcy

 court.

          8.    The Plaintiff is a New York corporation and is the Debtor herein.

          9.    Defendant Seyfarth Shaw, LLP is a New York limited liability partnership with a

 principal place of business located at 620 Eighth Avenue, New York, NY 10018-1405.


                                                  -2-
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49              Main Document
                                            Pg 3 of 20


           10.   Defendant Ralph Berman is an attorney licensed to practice law before this Court

 and in the State of New York. Berman was counsel to the Seyfarth firm during the events described

 herein.

                                               FACTS

           A.    Background and Underlying Adversary Proceeding

           11.   Blue Dog is a tenant in a building at 399 Park Avenue, New York, NY, pursuant to

 a ten-year lease with BP 399 Park Avenue LLC (the “Landlord”) dated January 1, 2012 (the

 “Lease”).

           12.   A dispute arose between Blue Dog and the Landlord regarding various Lease terms,

 as a result of which the Landlord declared that Blue Dog was in default of the Lease and purported

 to cancel and terminate the Lease. (Blue Dog denies that it was in material breach, denies that it

 failed to cure any alleged breach, and denies that the Landlord was entitled to declare a default or

 cancel and terminate the Lease.)

           13.   As a result of the ongoing and unresolved landlord-tenant dispute, Blue Dog

 commenced the Landlord Action, pursuant to which Debtor asserts claims for declaratory

 judgment, wrongful eviction, breach of lease and breach of the implied covenant of good faith and

 fair dealing, and seeks damages, treble damages pursuant to Section 853 of the New York Real

 Property and Proceedings Law, and injunctive relief.

           14.   On February 1, 2016, after denying the Landlord’s motion to dismiss the complaint,

 this Court issued a Joint Pretrial Scheduling Order [Docket No. 19 in the Landlord Action]

 directing, inter alia, that “All affirmative expert reports shall be delivered by April 21, 2016, with

 depositions of those experts to be taken and completed by May 5, 2016,” and that “All responding

 expert reports shall be delivered by May 12, 2016, with depositions of those experts to be taken

 and completed by May 26, 2016.” The Joint Pretrial Scheduling Order further required discovery


                                                  -3-
15-10694-mew       Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49                Main Document
                                             Pg 4 of 20


 to be completed no later than May 26, 2016, unless “extended by order of the Court for cause

 shown.”

        15.     By Amended Joint Pretrial Scheduling Order dated April 8, 2016 [Docket No. 20

 in the Landlord Action], this Court amended the original scheduling order to require that “All

 affirmative expert reports shall be delivered by May 19, 2016, with depositions of those experts to

 be taken and completed by June 2, 2016,” and that “All responding expert reports shall be

 delivered by June 9, 2016, with depositions of those experts to be taken and completed by June 23,

 2016.” As before, the Amended Joint Pretrial Scheduling Order required discovery to be

 completed by the stated deadline (June 23, 2016) unless “extended by order of the Court for cause

 shown.”

        B.      Seyfarth Appears and Cripples the Underlying Litigation

        16.     The February 1, 2016 Joint Pretrial Scheduling Order [Docket No. 19 in the

 Landlord Action] additionally memorialized “The Plaintiff reserves the right to make application,

 at any time prior to the Final Pretrial Order Date, to retain special counsel with respect to the

 adversary proceeding consistent with representations made in the application to employ and retain

 Wollmuth Maher & Deutsch LLP as counsel for Blue Dog at 399 Inc., in the above-captioned

 Chapter 11 case and consistent with the Order entered granting said application.” The application

 to employ and retain Wollmuth Maher [Docket No. 17 in the Debtor’s lead case], disclosed and

 anticipated the possible future retention of Seyfarth as special litigation counsel.

        17.     Consistent with the disclosure and reservation reflected in the Wollmuth Maher

 retention application, and the February 1, 2016 Joint Pretrial Scheduling Order in the Landlord

 Action, Seyfarth filed an Application of the Debtor for Entry of an Order Authorizing Employment

 and Compensation of Seyfarth Shaw, LLP as Special Litigation Counsel for the Debtor and

 Debtor-in-Possession Nunc Pro Tunc to the Application Date Pursuant to Bankruptcy Code Sections


                                                   -4-
15-10694-mew       Doc 135       Filed 06/19/18 Entered 06/19/18 06:28:49               Main Document
                                              Pg 5 of 20


 327(e) and 328 and Rule 2014 of the Federal Rules of Bankruptcy Procedure [Docket No. 60 in

 the Debtor’s lead case], by which Seyfarth sought to represent Blue Dog in the Landlord Action.

         18.     In support of the Seyfarth retention application, Seyfarth attached an engagement

 letter addressed to Blue Dog [Docket No. 60-2 in the Debtor’s lead case]. The Seyfarth

 engagement letter expressly provides, inter alia, that the firm’s client is Blue Dog, that the firm agrees

 to represent Blue Dog as special litigation counsel in the Adversary Proceeding filed at Adv. No.

 15-1097 (to-wit, the Landlord Action), that Blue Dog would be “represented principally” in the

 adversary by, among others, Mr. Berman, counsel to the firm, and that Seyfarth would be paid for

 its efforts (at rates hovering near and above $1,000 per hour) exclusively by a principal of Blue

 Dog, and not by Blue Dog itself.

         19.     This Court approved the Seyfarth retention application by order dated June 13,

 2016 [Docket No. 67 in the Debtor’s lead case].

         20.     By letter dated July 15, 2016 [Docket No. 22 in the Landlord Action], Seyfarth,

 identifying itself as special litigation counsel to Blue Dog in the Landlord Action, asked this Court

 to schedule a telephone conference at its earliest convenience “to address the refusal” of the

 Landlord “to abide by its commitments and produce necessary discovery [emphasis added].”

 Seyfarth specifically objected to the Landlord’s “refusal to produce witnesses, its non-cooperation

 and other delay tactics,” which reportedly precluded Blue Dog from completing the depositions of

 fact witnesses. As a result of these discovery delays, Seyfarth requested that this Court extend the

 deadline for discovery and pretrial submissions. In passing, Seyfarth also requested “a short

 additional time for expert discovery,” without mentioning that the deadline to serve expert reports

 had already elapsed some two months earlier.

         21.     As requested in the July 15, 2016 letter, the Court held a telephonic hearing on the

 discovery dispute on July 19, 2016, see Hearing Transcript [Docket No. 28 in the Landlord Action].


                                                    -5-
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                            Pg 6 of 20


 During the hearing, Mr. Berman requested “an extra couple of weeks to try to get these

 [depositions] done so that we can do our expert reports and get this thing ready for trial.” Hearing

 Transcript, p. 5, lines 10-12. In response, counsel for the Landlord argued, inter alia, that the

 discovery deadline had already closed, that weeks had passed by during which he heard nothing

 from Berman, and that in his view, the burden fell upon Seyfarth to move the Court to extend (i.e.,

 reopen) discovery, which he would not oppose. See generally Hearing Transcript, pp. 6-8.

        22.     The Court extended the deadline to complete discovery until August 10, extended

 the deadline for pretrial submissions to August 18, and unambiguously cautioned the parties “I

 won’t make any other changes to the schedule. We will have our final pretrial on the 18th and we

 will then set a trial date. Okay?” Hearing Transcript, p. 8. In response, Mr. Berman again raised

 the issue of expert reports, requesting “once we do finish with fact witnesses, there was a period of

 time for the exchanging of expert reports and expert depositions. I thought we could still

 accommodate that. That’s a fairly important part of our case [emphasis added].” Hearing

 Transcript, p. 9, lines 1-5. This Court rejected Berman’s professed rationale as “utter nonsense,”

 admonishing that “There’s no reason why you can’t get your experts done within the normal

 discovery schedule or why they have to wait until the fact witnesses are done. So you should have

 been working on that already.” Hearing Transcript, p. 9, lines 11-14. Nonetheless, this Court

 granted the requested relief and extended expert discovery to August 10, warning once again “I’m

 not going to extend it any further.” Hearing Transcript, p. 9, lines 15-16. Berman acknowledged

 “Very good, Your Honor.” Hearing Transcript, p. 9, line 17.

        23.     Despite the fact that Seyfarth allowed discovery to close once already without

 attending to its expert reports, despite its finger-wagging rebuke of the Landlord’s counsel for

 perceived “delay tactics” and a refusal to “abide by its commitments,” despite its concession that

 expert reports are “a fairly important part of our case,” and despite the Court’s repeated


                                                  -6-
15-10694-mew      Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49              Main Document
                                            Pg 7 of 20


 admonition that such reports and depositions would be due by August 10, with no further extensions,

 Seyfarth once again let the deadline pass without serving a single expert report.

        C.      Seyfarth’s Negligence Comes to Light

        24.     After discovery closed for the second time, on September 30, 2016, the Landlord

 filed a motion for summary judgment [Docket No. 35 in the Landlord Action].

        25.     On November 30, 2016, Seyfarth filed a response in opposition to the motion for

 summary judgment on behalf of Blue Dog [Docket No. 45 in the Landlord Action]. Attached to

 the response in opposition, Seyfarth filed and served, for the first time, the declarations (without

 expert reports) of two expert opinion witnesses, Dean Stracuzza [Docket No. 45-3 in the Landlord

 Action] and Lamar Jermaine Russell [Docket No. 45-5 in the Landlord Action].

        26.     Promptly thereafter, by letter dated December 2, 2016 [Docket No. 47 in the

 Landlord Action], counsel for the Landlord objected to the submission of expert declarations from

 two undisclosed opinion witnesses who were never previously identified as required by Fed. R. Civ.

 P. 26(a)(2)(A), and whose reports were due (on extension) by August 10, 2016, yet were never

 produced as required by Fed. R. Civ. P. 26(a)(2)(B). The Landlord objected that the “last-minute

 submission by the debtor of declarations by two previously undisclosed expert witnesses, without

 having ever (much less timely) provided the Landlord with required expert reports is patently unfair

 and violates this Court’s deadlines for expert disclosures.” For this reason, the Landlord requested

 a conference to consider a motion to strike, and further requested that Blue Dog “be barred from

 offering the Russell and Stracuzza declarations, and from presenting any other expert witness

 testimony whatsoever in this case.”

        27.     As requested, the Court held a hearing on the motion to strike on December 15,

 2016, see Hearing Transcript [Docket No. 52 in the Landlord Action]. After reviewing the expert

 disclosure requirements in the Federal Rules and the Court’s own scheduling orders, and the fact


                                                 -7-
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49              Main Document
                                            Pg 8 of 20


 that Seyfarth failed to comply with those requirements, the Court asked Mr. Berman why it should

 not grant the motion to strike and exclude the proffered declarations. Although Berman

 “apologized” three times for having “misunderstood” the Court’s orders, he was unable to

 articulate any colorable excuse for having failed to identify his experts and having failed to produce

 timely expert reports as required. Instead, he attempted to camouflage those failures by reference

 to unrelated discovery proceedings. The Court quickly saw through this deceit:

                        THE COURT: Where do you get the idea that because I allowed a little bit
                of other fact discovery to go forward that that automatically extended your date to
                even identify who your proposed experts would be?

                       MR. BERMAN: Well, Your Honor, if we misunderstood, I do apologize,
                but we took it to be extended as well because it wasn’t just a little bit of extra
                discovery. This was discovery that sort of went to the heart of the case and really
                had a great deal to do with –

                       THE COURT: It didn’t have anything to do with what your two experts
                have said.

                ***

                        THE COURT: Just because there is factual discovery on an issue going
                underway has nothing to do with whether your experts could and should have been
                identified to talk about what the general practices in the state of New York and City
                of New York were. In fact, one of your experts says that he was looking at
                this issue last March. So what is the possible excuse for your delay? And
                don’t just tell me that you think that I didn’t require it. I mean, you
                never identified that you were postponing your experts, you just -- looks
                to me like you just tried to hide them.

                ***

                         THE COURT: I never extended the time for expert discovery, and they
                never got to take the depositions because you never told them you were planning
                to use these people. So what did you think was going to happen? Did you think I
                was going to re-open the discovery again? I don’t see how under the circumstances
                of this case you could think that my prior discovery rulings where I was very explicit
                that I was only authorizing specific items to go forward, how could you think that
                that gave you time to delay the revelations of who your experts were? Because that,
                in effect, would have taken away from them, the right to do to the discovery that
                explicitly was contemplated in the pretrial.



                                                  -8-
15-10694-mew     Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                          Pg 9 of 20


               ***

                      THE COURT: [Quoting from the transcript of the July 19, 2016 Hearing
               Transcript, during which the Court found Seyfarth’s position to be “utter
               nonsense.”] What part of that statement could you possibly interpret as an extension
               of your time to disclose your experts?

               ***

                       THE COURT: How could you possibly interpret what I just read
               as meaning that you would make your expert disclosures after the fact
               witnesses? I said exactly the opposite. I described the attitude that
               lawyers take, as though experts can’t possibly proceed until all fact
               discovery is finished, I described it explicitly as nonsense. And then in
               the next sentence as utter nonsense. And I said very explicitly, there’s no
               reason why you can’t get your experts done within the normal discovery schedule
               or why they have to wait until the fact witnesses are done. You should have been
               working on that already so you can finish that, also, by August 10. Not that it would
               somehow wait until the fact discovery. It couldn’t have been more explicit to you
               that I was not agreeing with any suggestion that the experts would just automatically
               be postponed until every last shred of potential fact discovery was done.

               ***

                       THE COURT: [Responding to Berman’s tu quoque argument that the
               Landlord had likewise filed untimely expert reports.] They did not present anything
               that they purported to be an expert. You called it an expert. You called it a legal
               expert. I am not going to let you bootstrap your characterization of their
               proposed witness and whether it is admissible into a flagrant violation
               by you of my disclosure requirements and the disclosure requirements
               of the rule. Far from showing an actual justification or substantial
               justification here, you seem to have proceeded in utter disregard of the
               explicit requirements of the pretrial order. Quite frankly, I didn’t remember,
               and I am glad you gave me this transcript, because I didn’t remember being –
               having been as explicit as I was during the discovery conferences about the expert
               requirements, but having met -- having reread it now, I’m more confident than ever
               that all you did here was try to game the system.

                       And, you know, there’s two things that have been going on here that I am
               very disturbed about. I re-opened this case because I thought that you had raised
               an issue that hadn’t been ruled on, and I had a conference with both of you, I think
               13 months ago, about whether we should try the case here, where you both thought
               that we could have the case ready for trial within three months, which would have
               been in everybody’s interest because the issues were fairly straightforward.

                      Instead, I’ve had -- you both agreed on a longer discovery schedule, and
               I’ve had an inordinate number, for a case of this kind and size, of discovery


                                                -9-
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49              Main Document
                                            Pg 10 of 20


                 conferences. At your request, I have been quite hard on the landlord for what I
                 perceived as instances in which it wasn’t conducting discovery in the way I expected
                 in terms of the 30(b)(6) witness, who hadn’t been prepped in terms of document
                 production, in terms of whether witnesses had knowledge only to show up with
                 having filed affidavits. And, if anything, I’ve bent over backwards to make sure
                 discovery on those points were open. And I am going to hold you to the same
                 standard, and, quite frankly, your failure to identify these witnesses is
                 far more flagrant than any of the conduct you complained that the
                 landlord has engaged in, and far from have having a justification, it is
                 utterly unexplained. I’m going to exclude them. I have to exclude them under
                 Rule 37. So they will not be part of the record for summary judgment. You will not
                 be allowed to use them at trial, if we have a trial. Okay?

 Hearing Transcript [Docket No. 52 in the Landlord Action], p. 5, lines 13-23; p. 6 line 16; p. 7,

 line 1; p. 7, lines 5-16; p. 10, lines 2-19; p. 11, lines 5-21; p. 12, line 7; p.13, line 23 (emphasis

 added).

           28.   During this lengthy colloquy examining his unexcused failure to make timely expert

 disclosures, Mr. Berman conspicuously failed to disclose to the Court that Seyfarth had also

 retained (at considerable expense) a third expert, Gary Levy, CPA, the Hospitality Industry Practice

 Leader of CohnReznick LLP, 1301 Avenue of the Americas, New York, NY 10036, to prepare a

 report and offer expert testimony as to Blue Dog’s damages. Although Seyfarth failed to identify

 Mr. Levy and failed to serve any report (timely or otherwise), the report prepared by Mr. Levy at

 the firm’s behest opined that Blue Dog suffered lost profits in the amount of $4.5 million for the

 three-year period from March 1, 2015 through February 28, 2018. (Of course, under the parties’

 ten-year lease, Blue Dog’s damages would continue to accrue through at least 2022.) Not

 coincidentally, Seyfarth recited precisely this damage figure - albeit without the benefit of any

 supporting expert report or testimony - in the Joint Pretrial Order (Proposed) and Revised Joint

 Pretrial Order (Proposed) later filed at Docket Nos. 54 and 60 in the Landlord Action.

           29.   By order dated December 19, 2016 [Docket No. 51 in the Landlord Action], the

 Court struck the expert witness declarations filed by Seyfarth and barred Blue Dog from using



                                                 -10-
15-10694-mew       Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                             Pg 11 of 20


 those individuals as expert witnesses in connection with any motion, hearing or trial in the

 Landlord Action. The Court additionally scheduled the Landlord Action for trial on January 27,

 2017, approximately one month later.

        30.     On January 13, 2017, Seyfarth filed a Motion in Limine [Docket No. 53 in the

 Landlord Action] to preclude the Landlord from offering certain evidence at trial. On January 20,

 2017, the Landlord filed its Response [Docket No. 55 in the Landlord Action], including its own

 request to strike witnesses who had never been identified until just days earlier. See Landlord’s

 Response, pp. 32-35 [Docket No. 55 in the Landlord Action]. Specifically, the Landlord recited

 that on January 16, 2017, Seyfarth identified, for the first time, three new witnesses that were never

 before disclosed, followed by the identification of a fourth undisclosed new witness on January 17,

 2017. The Landlord objected that the newly-disclosed witnesses were offered to provide expert

 testimony in violation of the Court’s December 19, 2016 Order barring Blue Dog from calling

 expert witnesses at trial, a tactic the Landlord described as an “eve-of-trial … end-run around this

 Court’s order.”

        31.     The Court convened a hearing on the dueling motions in limine on January 25, 2017.

 See Hearing Transcript [Docket No. 61 in the Landlord Action]. During the hearing, the Court

 determined, once again, that Seyfarth failed to provide timely expert disclosures and would

 therefore be barred from offering any experts at trial. In so doing, the Court rejected Berman’s

 effort to disguise the newly-disclosed witnesses as simple fact witnesses:

                      THE COURT: All right. I mean, move to the other issue you raised, that
                apparently there’s some witnesses you never heard of before?

                       MR. SCHMIDT: Yes, Your Honor. It appears to us that there seems
                to be sort of an end around out of the expert exclusion order that you
                have entered in this case.

                ***



                                                  -11-
15-10694-mew       Doc 135     Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                            Pg 12 of 20


                       MR. SCHMIDT: Your Honor, these are not fact witnesses. This is really
                an end around an expert witness, and what he just described is actually
                expert witnesses. None of these witnesses have any idea or firsthand knowledge
                as to what was going on in the debtor’s place. It was simply by extrapolation,
                just to provide expert testimony here.

                ***

                        THE COURT: Well, if you’re offering these witnesses to show a prevailing
                practice in the community or a prevailing practice of the Health Department, how
                is that not expert testimony?

                ***

                        THE COURT: Well, there’s only two possibilities; one is that you’re just
                offering it so that they can say, well, this happened to me -- which I don’t really
                know that that’s relevance as to what the law actually required; or you want to offer
                it to say that they, by virtue of their experience, have sufficient experience and
                familiarity with this issue to be able to testify as to what the prevailing legal
                requirements are and how they were applied by the Health Department and the
                fire department, which –

                        MR. BERMAN: I’m sorry, Your Honor, I didn’t catch that.

                        THE COURT: The other alternative is that you’re offering them to say that
                by -- that they have sufficient experience to enable them to testify as to how, on a
                prevailing basis, the Health Department or fire department viewed these issues and
                what the actual requirements and experience were and that, by its definition,
                is expert testimony.

                ***

                        THE COURT: Yeah, no, it seems to me that as I say, there’s only two
                possibilities. Either that’s just hey, this is what happened in my case, in which case
                I don’t know that that really proves anything, or it’s just expert testimony that
                you’re unwilling to call expert testimony, and I’m not going to allow it.
                And if that leaves you with a difficulty of proof, that’s your own fault,
                for not designating experts when you should have.

 Hearing Transcript [Docket No. 61 in the Landlord Action], p. 15, lines 2-7; p. 16, lines 8-14, 20-

 23; p. 17, lines 6-24; p. 18, lines 10-17 (emphasis added).

        32.     Prior to trial on January 27, 2017, the Court directed the parties to return to

 mediation, which occurred on February 8 and 10, 2017.



                                                 -12-
15-10694-mew           Doc 135   Filed 06/19/18 Entered 06/19/18 06:28:49                 Main Document
                                              Pg 13 of 20


         33.      In the meantime, on February 3, 2017, the parties filed a Revised Joint Pretrial

 Order (Proposed) [Docket No. 60 in the Landlord Action] in which, as indicated above, Seyfarth

 reiterated Blue Dog’s $4.5 million damage claim.

         34.      The docket remained quiet for the next two months until April 14, 2017, when

 Seyfarth filed a Motion for Leave to Withdraw [Docket No. 62 in the Landlord Action; Docket

 No. 79 in the Debtor’s lead case], seeking Court permission to abandon its client outright.

         D.       Seyfarth Holds Blue Dog Hostage for its Own Financial Benefit

         35.      As recited in detail above, Seyfarth negligently, deceptively and repeatedly failed to

 identify experts and produce timely reports in the Underlying Litigation, leaving Blue Dog

 stranded without experts as to either liability or damages. Having thus materially impaired Blue

 Dog’s opportunity to prove its case, Seyfarth then contrived to extricate itself from the litigation

 altogether and, at the same time, extract a ransom in the form of further payment of attorneys’ fees

 for its “services.”

         36.      By its Motion for Leave to Withdraw, Seyfarth asked the Court to allow it not only

 to withdraw as counsel, but also - in a plot to extract from Blue Dog another $594,865.99 in fees -

 to assert a retaining lien against Blue Dog’s litigation files and to assert a charging lien against any

 recovery (monetary or otherwise) that Blue Dog might realize in the continuing litigation, despite the

 fact that the firm’s engagement letter [Docket No. 60-2 in the Debtor’s lead case] and retention application

 [Docket No. 60 in the Debtor’s lead case] both expressly provided that Blue Dog would not be responsible for

 the payment of any fees.

         37.      Blue Dog responded by filing an Application asking the Court to Deny, in Part, the

 Motion for Leave to Withdraw [Docket No. 63 in the Landlord Action; Docket No. 81 in the

 Debtor’s lead case]. In its response, Blue Dog recounted that Seyfarth missed critical deadlines in

 the Landlord Action, impacting not only the prosecution of the case (perhaps irreparably) but also


                                                    -13-
15-10694-mew        Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49                 Main Document
                                              Pg 14 of 20


 the lawyer-client relationship. For this reason, Blue Dog agreed that it was critical for it to change

 counsel in an effort to salvage the case. Conversely, Blue Dog opposed the Motion for Leave to

 Withdraw to the extent it sought to extract “further exorbitant and unreasonable compensation,”

 impose any liens, or otherwise blockade Blue Dog’s efforts to prepare the case for trial.

         38.     Echoing Blue Dog’s objections, the United States Trustee filed a separate Objection

 to Aspects of the Motion of Seyfarth Shaw, LLP to Withdraw as Counsel [Docket No. 88 in the

 Debtor’s lead case], in which the Trustee opposed the firm’s request to enforce an alleged lien

 (which would not only be “inappropriate,” but also was never disclosed in the retention application)

 and objected to any request to seek fees from the estate, contrary to the terms of the retention

 order. Among other concerns, the United States Trustee noted that the firm’s effort to extract fees

 from Blue Dog created an undisclosed conflict of interest, violated the automatic stay, and

 constituted an improper priming lien at odds with the Bankruptcy Code.

         39.     Seyfarth filed a Reply to the Objections of the United States Trustee [Docket No.

 67 in the Landlord Action; Docket No. 93 in the Debtor’s lead case] in which it argued that its

 efforts to assert a lien were “reasonable,” that the conflict-of-interest concerns were “absurd,” that

 Blue Dog “has no right” to possess its own files, and that it should be permitted to retain the Blue

 Dog files and thereby further hobble the litigation. (In a final slap at the troubling ethical issues

 arising from its self-serving hostage-taking, Seyfarth further argued that the objections of the

 United States Trustee were “untimely.”)

         40.     Perhaps recognizing that it was likely to lose on the existing record (particularly

 given its unambiguous engagement letter and retention application), Seyfarth then attempted to

 renegotiate the terms of its representation (after the representation had ended) by simultaneously filing an

 Application for Entry of an Order to Amend the Order Authorizing its Employment and

 Compensation [Docket No. 70 in the Landlord Action; Docket No. 99 in the Debtor’s lead case]


                                                    -14-
15-10694-mew       Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                             Pg 15 of 20


 and a Rule 9019 Motion to Approve the Settlement Agreement [sic] Resolving the Motion for

 Leave to Withdraw and Objections Thereto [Docket No. 71 in the Landlord Action; Docket No.

 99 in the Debtor’s lead case]. In this dual filing, Seyfarth argued, inter alia, that Blue Dog and the

 United States Trustee agreed to amend the retention order to obligate Blue Dog to compensate

 the firm for its legal fees as an administrative expense and that it could continue to withhold the

 litigation files until seven days after orders approving the settlement and amending the retention

 order became final.

         41.     The Court convened a hearing on the Seyfarth motions on June 23, 2017, see

 Hearing Transcript [Docket No. 78 in the Landlord Action]. Put briefly, the Court rejected

 Seyfarth’s claim that there was a final binding settlement, rejected its after-the-fact request to

 modify the terms of its engagement, rejected the request to receive payment from Blue Dog, and

 rejected the argument that the firm had any right to retain the files or otherwise assert a retaining

 lien or a charging lien. The Court formally docketed its ruling as a Bench Decision dated July 21,

 2017 [Docket No. 77 in the Landlord Action].

         42.     By Order dated July 5, 2017 [Docket No. 76 in the Landlord Action; Docket No.

 109 in the Debtor’s lead case], the Court (i) authorized Seyfarth to withdraw as counsel, on the

 condition that it surrender all associated litigation files within five days; (ii) ordered that the

 withdrawal would not be effective unless and until the files were completely turned over; (iii)

 ordered that the Court would retain jurisdiction over Seyfarth with regard to, inter alia, any and all

 disputes relating to Seyfarth’s retention by the Debtor; and (iv) ordered that the Motion for Leave

 to Withdraw, the Motion to Approve Settlement and the Motion to Amend the retention order

 were otherwise denied in all respects.




                                                 -15-
15-10694-mew      Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                            Pg 16 of 20


        E.      Debtor Has Already Suffered Damages

        43.     Lest Seyfarth try to argue that Blue Dog has not - or not yet – suffered, and will not

 suffer, damages from its documented negligence while the Landlord Action remains pending,

 compensable damages have already accrued and continue to accrue, whatever the eventual

 outcome of the Landlord Action, based on which this action is now ripe. Without limitation, the

 prosecution of the Landlord Action has been substantially delayed by Seyfarth’s negligence,

 postponements and withdrawal, as a direct result of which Blue Dog has been further delayed in

 recovering possession of the leased premises. Further damages may surface as the Landlord Action

 moves forward, including the damages already identified herein.

        F.      Seyfarth is Estopped from Contesting the Case-Within-the-Case

        44.     This is an action for legal malpractice. Lest Seyfarth now try to argue that its

 documented negligence was harmless because Blue Dog’s case was baseless or unwinnable

 (reminiscent of its argument that the United States Trustee’s objections should be ignored as

 “untimely”), it is estopped from disputing the merits of the Landlord Action in this action.

        45.     By way of example, without limitation, in its Retention Application [Docket No. 60

 in the Landlord Action], Seyfarth represented to the Court, subject to the requirements of Fed. R.

 Civ. P. 11 and Bankr. R. 9011, that Blue Dog entered into a ten-year lease agreement dated

 January 1, 2012, that it spent over two years and over $1.6 million carrying out the renovations

 and build-out at the premises necessary to open and operate a café, that it spent more than

 $500,000 paying rent, that the Landlord wrongfully evicted and dispossessed Blue Dog of the

 premises, that Seyfarth has considerable experience and knowledge in the field of commercial

 landlord-tenant disputes and related litigation and is well qualified to represent Blue Dog in the

 litigation, that it had been involved in the underlying transactions since before the bankruptcy




                                                 -16-
15-10694-mew        Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49           Main Document
                                              Pg 17 of 20


 filing, and that the employment of Seyfarth to prosecute the Landlord Action would be in the best

 interests of Blue Dog and the estate.

         46.     After its approval as special counsel, Seyfarth continued to endorse the validity of

 the Landlord Action, both implicitly and explicitly, by its continued representation. By way of

 further example, without limitation, in its Opposition to the Defendant’s Motion for Summary

 Judgment [Docket No 45 in the Landlord Action], Seyfarth represented to this Court, subject to

 the requirements of Fed. R. Civ. P. 11 and Bankr. R. 9011, that Blue Dog had resolved all old

 disputes with the Landlord, that the Lease had been reinstated, that it was current on its rent, that

 it was ready, willing and able to open for business, that it had satisfied all required regulatory

 prerequisites and was legally entitled to open, and that the Landlord wrongfully obstructed it from

 opening.

         47.     By way of further example, without limitation, in the Joint Pretrial Order (Proposed)

 [Docket No. 54 in the Landlord Action] and Revised Joint Pretrial Order (Proposed) [Docket No.

 60 in the Landlord Action], Seyfarth represented to this Court, subject to the requirements of Fed.

 R. Civ. P. 11 and Bankr. R. 9011, that Blue Dog suffered monetary damages in the amount of

 $4.5 million as the result of the Landlord’s unlawful conduct.

         48.     By way of further example, and without limitation, in its Rule 9019 Motion to

 Approve the Settlement Agreement [Docket No. 71 in the Landlord Action; Docket No. 99 in the

 Debtor’s lead case], Seyfarth represented to this Court, subject to the requirements of Fed. R. Civ.

 P. 11 and Bankr. R. 9011, that its legal services in prosecuting the Landlord Action conferred a

 benefit upon Blue Dog and the estate, see 11 U.S.C. § 330(a)(3), that “Seyfarth provided service of

 substantial value to the Debtor’s estate,” and that payment by Blue Dog for those services would

 be in the best interests of the estate.




                                                 -17-
15-10694-mew        Doc 135    Filed 06/19/18 Entered 06/19/18 06:28:49             Main Document
                                            Pg 18 of 20


         49.     In short, Seyfarth repeatedly endorsed every element of the claims against the

 Landlord in the Landlord Action, including damages of not less than $4.5 million and treble

 damages calculated thereon. It is now therefore estopped from disputing or disavowing the

 underlying claims.

                                  FIRST CLAIM FOR RELIEF
                                (Negligence/Legal Malpractice)

         50.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 - 51 as if

 fully set forth herein.

         51.     Defendants had a duty to use ordinary care in prosecuting the Landlord Action,

 and were specifically required (without limitation), to take all required steps necessary to preserve

 and advance the prosecution of Blue Dog’s claims and causes of action.

         52.     More specifically, and without limitation, Defendants were required to comply with

 all scheduling orders and other deadlines issued by the Court so as not to waive or impair Blue

 Dog’s claims and causes of action.

         53.     Defendants breached their duties by, inter alia, failing to take all required steps

 necessary to preserve and advance the prosecution of Blue Dog’s claims and causes of action and

 by failing to comply with all scheduling orders and other deadlines issued by the Court so as not to

 waive or impair Blue Dog’s claims and causes of action.

         54.     Defendants’ decision to ignore the Court’s deadlines governing expert reports (“a

 fairly important part of the case”) is not within the purview of “litigation strategy,” and, as this

 Court has already found, was not justified or excusable. As such, this failure constitutes actual and

 material negligence.

         55.     As a result of Defendants’ negligence, by Defendants’ own calculation, the Debtor

 sustained damages in an amount of not less than $13,500,000.



                                                 -18-
15-10694-mew          Doc 135    Filed 06/19/18 Entered 06/19/18 06:28:49          Main Document
                                              Pg 19 of 20


                            SECOND CLAIM FOR RELIEF
               (Treble Damages Pursuant to New York Judiciary Law § 487)

         56.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 - 54 as if

 fully set forth herein.

         57.     Article 15, Section 487 of the New York judiciary law provides as follows:

                 An attorney or counselor who:

                 1.        Is guilty of any deceit or collusion, or consents to any deceit or
                           collusion, with intent to deceive the court or any party; or,

                 2.        Wilfully delays his client’s suit with a view to his own gain; or,
                           wilfully receives any money or allowance for or on account of any money
                           which he has not laid out, or becomes answerable for,

                 Is guilty of a misdemeanor, and in addition to the punishment prescribed therefor
                 by the penal law, he forfeits to the party injured treble damages, to be
                 recovered in a civil action.

 NY CLS Jud § 487 (emphasis added).

         58.     Defendants engaged in and practiced deceit, with the intent to deceive both their

 client, Blue Dog (a party to the Landlord Action), and the Court, and willfully delayed the

 prosecution of the Landlord Action with a view to their own gain, and in so doing became liable

 for treble damages under Section 487.

         59.     The conduct complained of herein occurred while the Landlord Action was actually

 pending.

         60.     The conduct complained of herein occurred in the course of, and in connection

 with, the Landlord Action.

         61.     As a result of Defendants’ conduct complained of herein, Defendants forfeit to Blue

 Dog, and Blue Dog is entitled to recover, treble damages in an amount of not less than

 $40,500,000.




                                                 -19-
15-10694-mew      Doc 135      Filed 06/19/18 Entered 06/19/18 06:28:49           Main Document
                                            Pg 20 of 20


        WHEREFORE, Blue Dog respectfully requests entry of judgment on its Complaint in its

 favor and against Defendants, jointly and severally, as follows:

         (i)   Awarding Blue Dog its actual damages in an amount to be determined at
 determined at trial and not less than $13,500,000;
         (ii)  Determining and declaring that the Defendants have forfeited to Blue Dog treble
 damages in an amount not less than $40,500,000, and directing the Defendants to remit such
 amount to Blue Dog;
         (iii) Awarding Blue Dog all fees and costs, including attorneys’ fees, associated with this
 action; and
         (iv)  Granting Blue Dog such other and further relief, both at law and in equity, as the
 Court may deem just and proper.

 Dated: June 19, 2018
                                               LAW OFFICE OF SCOTT M. HARE

                                               By:      /s/ Scott M. Hare
                                                        Scott M. Hare
                                                        1806 Frick Building
                                                        437 Grant Street
                                                        Pittsburgh, PA 15219
                                                        (412) 338-8632
                                                        scott@scottlawpgh.com
                                                        Pa. I.D. No. 63818
                                                        Michigan P52081

                                               Proposed Special Counsel to Blue Dog at 399 Inc.




                                                 -20-
